4:08-cr-03078-WKU-DLP         Doc # 76    Filed: 10/15/08    Page 1 of 1 - Page ID # 218




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE D ISTRICT OF N EBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                           Plaintiff,           )
                                                )
v.                                              )      Case No. 4:08CR3078
                                                )
PEEAIR SHAUN WARD,                              )
                                                )
                           Defendant.           )

                                         ORDER

      THIS MATTER comes before this Court on defendant's Unopposed Motion to

Continue the Deadline for Filing a Downward Departure/Variance Motion and Supporting

Brief, filing 75. The Court, noting the Government has no objection to the same, finds that

said Motion should be granted.

      IT IS THEREFORE ORDERED that the defendant shall file any downward

departure/variance motion with supporting brief no later than Monday, October 20, 2008.

      Dated this 15th day of October, 2008.

                                                BY THE COURT:

                                                s/ Warren K. Urbom
                                                United States Senior District Judge
